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                IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE
____________________________________

In re:                              :                                Chapter 11
                                    :
FRANCHISE GROUP, INC., et al., 1    :                                Case No. 24-12480 (LAS)
                                    :                                (Jointly Administered)
                                    :
____________________________________:                                Ref. Docket Nos. 1424

     CERTIFICATE OF SERVICE OF LIMITED OBJECTION OF A-TEAM LEASING,
    LLC TO EIGHTH AMENDED JOINT CHAPTER 11 PLAN OF FRANCHISE GROUP
                       AND ITS DEBTOR AFFILIATES

           I hereby certify that on this 7th day of May 2025, a true and correct copy of the Limited
    Objection of A-Team Leasing, LLC to the Eighth Amended Joint Chapter 11 Plan of Franchise
    Group and its Debtor Affiliates as served upon those parties registered to receive electronic
    notices via the Court’s CM/ECF electronic noticing system and to the persons listed on the
    attached sheet as indicated.
    Dated: May 7, 2025                                        Respectfully submitted,

                                                              DUANE MORRIS LLP

                                                             /s/ Lawrence J. Kotler
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                                                              Attorneys for A-Team Leasing, LLC

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  The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers, to the
extent applicable, are Franchise Group, Inc. (1876), Freedom VIM Holdings, LLC (1225), Freedom VIM Interco Holdings, Inc.
(2436), Freedom Receivables II, LLC (4066), Freedom VIM Receivables, Inc. (0028), Freedom VIM Interco, Inc. (3661),
Freedom VIM, Inc. (3091), Franchise Group New Holdco, LLC (0444), American Freight FOFO, LLC (5743), Franchise Group
Acquisition TM, LLC (3068), Franchise Group Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486),
Franchise Group Newcomb Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings,
LLC (8271), American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
Intermediate S, LLC (5408), Franchise Group Newcomb S, LLC (1814), American Freight Franchising, LLC (1353), Home &
Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise
Group Intermediate B, LLC (7836), Buddy’s Newcomb, LLC (5404), Buddy’s Franchising and Licensing LLC (9968), Franchise
Group Intermediate V, LLC (5958), Franchise Group Newcomb V, LLC (9746), Franchise Group Intermediate BUFF, LLC
(8260); Franchise Group Newcomb BUFF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785),
Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC
(8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC
(0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newcomb PSP, LLC (2323), PSP Medco, LLC (6507),
Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newcomb, LLC (6414), WNW Franchising , LLC
(9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Succor, LLC (6489), PSP
Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newcomb SL, LLC (7697), and
Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware, Ohio 43015.
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